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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of New York
                                          (State)                                                                                 ☒ Check if this is an
Case number (if known):           22-10966 (MG)               Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Celsius Network Limited



2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       1 Bartholomew Lane
                                       Number              Street                                     Number         Street


                                                                                                      P.O. Box
                                       London, UK                                 EC2N 2AX
                                          City                            State     Zip Code          City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business


                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://celsius.network

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




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Debtor            Celsius Network Limited                                             Case number (if known)         22-10966 (MG)
           Name



                                              A. Check One:
7.   Describe debtor’s business
                                              ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                              ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                              ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                              ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                              ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                              ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                              ☒ None of the above

                                              B. Check all that apply:
                                              ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                              ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                 § 80a-3)
                                              ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                              C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                  http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5239

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                   ☐    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                     not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                   ☐    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                   ☐    A plan is being filed with this petition.
                                                   ☐    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                   ☐    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                        the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                        (Official Form 201A) with this form.
                                                   ☐    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No         District
   filed by or against the debtor       ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                            When                     Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




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Debtor           Celsius Network Limited                                               Case number (if known)          22-10966 (MG)
          Name



10. Are any bankruptcy cases             ☐ No
    pending or being filed by a          ☒ Yes.                                                                      Relationship    Affiliate
                                                      Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                          District      Southern District of New York
   List all cases. If more than 1,                                                                                   When            07/13/2022
   attach a separate list.                          Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this       Check all that apply:
    district?
                                        ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                        ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have         ☒ No
    possession of any real              ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                  ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                        safety.
                                                        What is the hazard?

                                                  ☐     It needs to be physically secured or protected from the weather.

                                                  ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                         (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                         other options).
                                                  ☐     Other


                                                  Where is the property?
                                                                                          Number        Street



                                                                                          City                               State       Zip Code



                                                  Is the property insured?
                                                  ☐ No

                                                  ☐ Yes.         Insurance agency

                                                                 Contact name
                                                                 Phone




                  Statistical and administrative information

13. Debtor's estimation of             Check one:
    available funds
                                       ☒ Funds will be available for distribution to unsecured creditors.
                                       ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of                ☐     1-49                         ☐       1,000-5,000                    ☐     25,001-50,000
    creditors (on a                    ☐     50-99                        ☐       5,001-10,000                   ☐     50,001-100,000
    consolidated basis)                ☐     100-199                      ☐       10,001-25,000                  ☒     More than 100,000
                                       ☐     200-999




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Debtor            Celsius Network Limited                                             Case number (if known)               22-10966 (MG)
          Name



15. Estimated assets (on a            ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)               ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                      ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                      ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on         ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
    a consolidated basis)             ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒   $1,000,000,001-$10 billion
                                      ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                      ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                 Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of          petition.
    debtor
                                          I have been authorized to file this petition on behalf of the debtor.
                                          I have examined the information in this petition and have a reasonable belief that the information is true and
                                          correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on         07/14/2022
                                                               MM/ DD / YYYY


                                               /s/ Alex Mashinsky                                                 Alex Mashinsky
                                               Signature of authorized representative of debtor                Printed name

                                               Title    Chief Executive Officer




18. Signature of attorney                      /s/ Joshua A. Sussberg                                         Date        07/14/2022
                                               Signature of attorney for debtor                                           MM/DD/YYYY



                                               Joshua A. Sussberg
                                               Printed name
                                               Kirkland & Ellis LLP
                                               Firm name
                                               601 Lexington Avenue
                                               Number               Street
                                               New York                                                               NY                10022
                                               City                                                                   State               ZIP Code

                                               (212) 446-4800                                                         joshua.sussberg@kirkland.com
                                               Contact phone                                                              Email address
                                               4216453                                             NY
                                               Bar number                                          State




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 Fill in this information to identify the case:
                                                                     ,
 United States Bankruptcy Court for the:
                       Southern District of New York
                                       (State)                                                       ☒ Check if this is an
                                                       Chapte                                            amended filing
 Case number (if known):    22-10966 (MG)              r        11



                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of New York for relief under chapter 11 of title 11 of the United
States Code. The Debtors have moved for joint administration of these cases under the case number assigned to
the chapter 11 case of Celsius Network LLC.

 Celsius Network Inc.
 Celsius KeyFi LLC
 Celsius Lending LLC
 Celsius Mining LLC
 Celsius Network Limited
 Celsius Network LLC
 Celsius Networks Lending LLC
 Celsius US Holding LLC
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                        )
     In re:                                             )     Chapter 11
                                                        )
     CELSIUS NETWORK LIMITED,                           )     Case No. 22-10966 (MG)
                                                        )
                              Debtor.                   )
                                                        )

                                      LIST OF EQUITY SECURITY HOLDERS1

                                                                                        Percentage of
                Equity Holder                    Address of Equity Holder
                                                                                         Equity Held
                                                    121 River Street, PH05
       Celsius Network Inc.                                                                 65.32%
                                                 Hoboken, New Jersey 07030
                                               c/o WestCap Management, LLC
       Community First Partners, LLC                  590 Pacific Avenue                    8.75%
                                                  San Francisco, CA 94134
                                           c/o SHRM Trustees (BVI) Limited Trinity
       Tether International Limited        Chambers, PO Box 4301 VG1110, Road               7.81%
                                              Town, Tortola British Virgin Islands
                                               c/o WestCap Management, LLC
       Celsius SPV Investors, LP                      590 Pacific Avenue                    4.79%
                                                  San Francisco, CA 94135
                                                1000 place Jean-Paul-Riopelle,
       CDP Investissements Inc.                                                             4.79%
                                                  Montréal, Québec H2Z 2B3
                                             c/o P.O. Box, 10008, Willow House,
       BNK to the Future Non-US
                                             Cricket Square, KY1-1001, Cayman               3.78%
       Portfolio
                                                            Islands
                                             c/o P.O. Box, 10008, Willow House,
       BNK to the Future US Portfolio        Cricket Square, KY1-1001, Cayman               1.65%
                                                            Islands
                                               c/o WestCap Management, LLC
       Celsius New SPV investors, LP                  590 Pacific Avenue                    0.47%
                                                  San Francisco, CA 94135
                                              Am Eulenhof 14, 95326 Kulmbach,
       Artus Capital GmbH & Co. KGaA                                                        0.35%
                                                           Germany
                                           795 Folsom St, San Francisco, California
       Gumi Cryptos Capital LLC                                                             0.31%
                                                          94107, US
                                             1 Scotts Road, #16-06 Shaw Centre,
       Intership Ltd.                                                                       0.27%
                                                      Singapore 228208
                                           Taunusanlage 8, Frankfurt am Main, HE
       tokentus Investment AG                                                               0.22%
                                                             60329
       European Media Finance                96 Kensington High Street, London,
                                                                                            0.20%
       Limited                                         England W8 4SG
       James Kordomenos                                     On file                         0.19%


 1
        This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
        Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
        equity as of the date of commencement of the chapter 11 case.
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                                                                           Percentage of
           Equity Holder                 Address of Equity Holder
                                                                            Equity Held
 Sandra Knuth Walsh                               On file                     0.18%

 Michael Mowry                                    On file                     0.15%

 On file                                          On file                     0.15%

 Thomas Connolly                                  On file                     0.12%
 Altshuler Shaham Trusts Ltd.
                                   19 Habarzel, Ramat Hahayal TEL AVIV-
 (held f/b/of Lior Lamesh and                                                 0.10%
                                          JAFFA, 6971025 Israel
 Shahar Shamai)
 Andersen Invest Luxembourg          Rue Pletzer, 4A, L-8080 Bertrange,
                                                                              0.05%
 S.A Spf                                       Luxembourg
 Lior Lamesh                                      On file                     0.05%

 Shahar Shamai                                    On file                     0.05%

 David M Barse 2012 Trust                         On file                     0.03%

 David Hoffman                                    On file                     0.03%
 Heliad Equity Partners GmbH &
                                   Grüneburgweg 18, 60322 Frankfurt/Main      0.03%
 Co. KGaA
                                     1805 Ponce de Leon Blvd, Apt 733,
 JR Investment Trust                                                          0.02%
                                          Coral Gables, FL 33134
 Jad Jubayli                                      On file                     0.02%

 Estefano Isaias                                  On file                     0.02%

 Juan Cruz Caceres                                On file                     0.01%

 Yaron Remen                                      On file                     0.01%
 Alan L. Mauldin and Michelle E.
                                                  On file                     0.01%
 Mauldin
 Anhminh Tran                                     On file                     0.01%

 Craig Barrett                                    On file                     0.01%

 John Gialamas                                    On file                     0.01%

 William Douglas Carter                           On file                     0.01%

 Ylan Kazi                                        On file                     0.01%

 Robert Pistey                                    On file                     0.01%

 Dung Bui                                         On file                     0.01%




                                                                                           Page 4
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                       )
  In re:                                               )      Chapter 11
                                                       )
  CELSIUS NETWORK LIMITED,                             )      Case No. 22-10966 (MG)
                                                       )
                           Debtor.                     )
                                                       )

                                     CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
 following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
 class of the debtor’s equity interest:

                Shareholder                                Approximate Percentage of Shares Held
  Celsius Network Inc.                                                    65.32%
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    Fill in this information to identify the case:

    Debtor name        Celsius Network LLC, et al.

    United States Bankruptcy Court for the:     Southern District of New York                                                                  Check if this is an
    Case number (If known):                                                             (State)                                                 amended filing




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 50
  Largest Unsecured Claims and Are Not Insiders                            12/15

 A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
 disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
 secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 50
 largest unsecured claims.


 The Debtors have paid all general unsecured claims against the Debtors that have been billed of the Petition Date.

            Name of            Name, telephone number, and                Nature of      Indicate if   Amount of unsecured claim
          creditor and        email address of creditor contact           the claim       claim is
           complete                                                    (for example,    contingent,    If the claim is fully unsecured, fill in only unsecured claim
             mailing                                                    trade debts,   unliquidated,   amount. If claim is partially secured, fill in total claim
            address,                                                    bank loans,     or disputed    amount and deduction for value of collateral or setoff to
         including zip                                                  professional                   calculate unsecured claim.
              code                                                     services, and                                  Deduction
                                                                        government                       Total        for value
                                                                          contracts)                   claim, if          of
                                                                                                       partially      collateral
                                                                                                       secured         or setoff            Unsecured claim
   1    Pharos USD            Email - admin@lanternventures.com         Loan Party     Unliquidated                                                      $81,081,803
        Fund SP
        Pharos Fund SP
        Landmark
        Square, 1st
        Floor
        64 Earth Close
        PO Box 715
        Grand Cayman
        KY-1107
        Cayman Islands
   2    On File               On File                                    Customer      Unliquidated                                                      $40,586,695




   3    On File               On File                                   Customer /     Unliquidated                                                      $38,359,717
                                                                        Loan Party




   4    On File               On File                                    Customer      Unliquidated                                                      $24,628,833




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                         page 1
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 Debtor             Celsius Network LLC, et al.                         Case Number (if known)
                    Name



   5      On File              On File                            Customer /     Unliquidated                              $20,998,387
                                                                  Loan Party




   6      On File              On File                            Customer       Unliquidated                              $19,369,656




   7      On File              On File                            Customer /     Unliquidated                              $15,812,046
                                                                  Loan Party




   8      On File              On File                            Customer /     Unliquidated                              $15,571,124
                                                                  Loan Party




   9      On File              On File                            Customer /     Unliquidated                              $15,133,797
                                                                  Loan Party




  10      On File              On File                            Customer       Unliquidated                              $14,569,039




  11      ICB Solutions        Phone - 614-403-0997               Customer       Unliquidated                              $13,343,960
          W Royal Forest
          Blvd
          Columbus, OH
          43214


  12      The Caen Group       Phone - 760-803-0712               Customer       Unliquidated                              $13,077,800
          LLC
          Detwiler Road
          Escondido, CA
          92029


  13      Alameda              Email - sam@alamded-research.com   Loan Party     Unliquidated                              $12,770,047
          Research LTD         Phone - 774-270-0676
          Tortola Pier
          Park, Building 1
          Second Floor
          Wickhams Cay I
          Road Town,
          Tortola VG1110
          British Virgin
          Islands




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                    Name



  14      B2C2 LTD             Email - middleoffice@B2C2.com     Loan Party     Unliquidated                               $11,814,949
          86-90 Paul           Phone - 44-203-973-4780
          Street
          London EC2A
          4NE
          United
          Kingdom
  15      Covario AG           Email - brokerage@covar.io        Customer       Unliquidated                               $11,310,531
          Landys+Gyr           Phone - 414-154-11382
          Strasse 1
          Zug 6300
          Switzerland


  16      On File              On File                           Customer       Unliquidated                               $11,168,614




  17      On File              On File                           Customer       Unliquidated                               $11,131,962




  18      On File              On File                           Customer       Unliquidated                               $11,089,080




  19      On File              On File                           Customer       Unliquidated                               $10,378,951




  20      On File              On File                           Customer       Unliquidated                               $10,328,557




  21      Invictus Capital     Email - spc@invictuscapital.com   Customer       Unliquidated                                $9,885,589
          Financial
          Technologies
          SPC
          67 Fort Street
          Grand Cayman,
          KY1-1102
          Cayman Islands
  22      On File              On File                           Customer       Unliquidated                                $9,790,947




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 Debtor             Celsius Network LLC, et al.                            Case Number (if known)
                    Name



  23      On File              On File                               Customer       Unliquidated                           $9,678,180




  24      On File              On File                               Customer /     Unliquidated                           $9,331,765
                                                                     Loan Party




  25      On File              On File                               Customer /     Unliquidated                           $9,087,167
                                                                     Loan Party




  26      On File              On File                               Customer       Unliquidated                           $8,499,705




  27      Strobilus LLC        Phone - 617-640-3914                  Customer /     Unliquidated                           $7,850,694
          159 Main St.                                               Loan Party
          Nashua, NH
          03060



  28      Crypto10 SP -        Email -                               Customer       Unliquidated                           $7,829,667
          Segregated           c10_spc@Invictuscapital.com
          Portfolio of
          Invictus Capital
          Financial
          Technologies
          SPC
          67 Fort Street,
          1st Floor,
          Artemis House
          George Town,
          KY1-1102
          Cayman Islands
  29      Altcointrader        Email - richard@altcointrader.co.za   Customer       Unliquidated                           $7,593,905
          (Pty) Ltd            Phone - 278-2411-0866
          229 Ontdekkers
          Road, Horizon,
          Roodepoort
          1724
          South Africa
  30      On File              On File                               Customer /     Unliquidated                           $7,460,897
                                                                     Loan Party




  31      On File              On File                               Customer       Unliquidated                           $7,280,505




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 Debtor             Celsius Network LLC, et al.                        Case Number (if known)
                    Name



  32      On File              On File                           Customer       Unliquidated                               $7,207,770




  33      On File              On File                           Customer       Unliquidated                               $6,754,458




  34      Deferred 1031        Phone - 425-766-7107              Customer       Unliquidated                               $6,684,659
          Exchange, LLC
          Lakeland Ave.
          Dover, DE
          19901


  35      On File              On File                           Customer       Unliquidated                               $6,499,769




  36      On File              On File                           Customer       Unliquidated                               $6,370,197




  37      On File              On File                           Customer /     Unliquidated                               $6,349,731
                                                                 Loan Party




  38      On File              On File                           Customer /     Unliquidated                               $6,268,520
                                                                 Loan Party




  39      On File              On File                           Customer /     Unliquidated                               $6,099,136
                                                                 Loan Party




  40      On File              On File                           Customer       Unliquidated                               $5,909,689




  41      On File              On File                           Customer       Unliquidated                               $5,851,623




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 Debtor             Celsius Network LLC, et al.                        Case Number (if known)
                    Name



  42      On File              On File                           Customer       Unliquidated                               $5,807,454




  43      On File              On File                           Customer /     Unliquidated                               $5,788,622
                                                                 Loan Party




  44      On File              On File                           Customer /     Unliquidated                               $5,783,350
                                                                 Loan Party




  45      On File              On File                           Customer       Unliquidated                               $5,747,666




  46      On File              On File                           Customer /     Unliquidated                               $5,746,814
                                                                 Loan Party




  47      On File              On File                           Customer       Unliquidated                               $5,710,805




  48      On File              On File                           Customer       Unliquidated                               $5,710,207




  49      On File              On File                           Customer       Unliquidated                               $ 5,664,096




  50      On File              On File                           Customer       Unliquidated                               $5,588,694




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                         CELSIUS NETWORK LIMITED
                                   (the Company)
                           Registered Number: 11198050
               Minutes of a Meeting of the Directors of the Company
              held by videoconference on 13 July 2022 at 8:00 PM BST




 PRESENT:                Alex Mashinsky               (Chairman)

                         S. Daniel Leon               (Director)

                         Alan Carr                    (Director and Designated
                                                      Director)

                         David Barse                  (Director and Designated
                                                      Director)

 IN ATTENDANCE:          Chris Ferraro                Chief Financial Officer

                         Rod Bolger                   Advisor

                         Roni Cohen Pavon             Chief Revenue Officer

                         Aslihan Dezinkurdu           Chief Operating Officer

                         Ron Deutsch                  General Counsel, Head of M&A
                                                      and Secretary

                         Rodney Sunada-Wong           Chief Risk Officer

                         Ofer Ganot                   Senior Corporate Counsel

                         Joshua A. Sussberg           (Kirkland & Ellis)

                         Patrick J. Nash              (Kirkland & Ellis)

                         Ross M. Kwasteniet           (Kirkland & Ellis)

                         Kon Asimacopoulos            (Kirkland & Ellis)

                         Hannah Crawford              (Kirkland & Ellis)

                         Bob Campagna                 (Alvarez & Marsal)

                         Mark Puntus                  (Centerview)

                         Heather Waller               (Latham & Watkins)

                         John Fox                     (Latham & Watkins)
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1.    CHAIRMAN

      It was resolved that Alex Mashinsky be appointed Chairman of the Meeting and it was
      noted that a quorum was present in accordance with the Company’s articles of
      association (the “Articles”) and that all Directors had received notice of the Meeting
      and of the matters to be discussed and that the meeting was therefore duly constituted.

2.    NOTICE AND QUORUM

(a)   Each of the Directors present declared he had no direct or indirect interest in the matters
      under consideration which would prevent him from voting or forming part of the
      quorum whether by law, the Articles or otherwise, and where personally interested in
      the matters under consideration by virtue of his directorship or shareholding (whether
      direct or indirect) or his employment or engagement for services with the Company,
      duly declared the nature and extent of his interest in accordance with s.177 of the
      Companies Act 2006 (the “2006 Act”).

(b)   Accordingly, the Chairman declared the meeting open.

3.    PURPOSE OF MEETING

(a)   The Chairman noted that Celsius Network Inc. (“Celsius Inc”) and certain (direct and
      indirect) subsidiaries of Celsius Inc, including the Company, would file for creditor
      protection pursuant to chapter 11 of title 11 of the United States Code (the
      “Bankruptcy Code”) in short order (the “Chapter 11 Proceedings”).

(b)   The Chairman noted that the purpose of the meeting was for the board of directors of
      the Company (the “Board” and each a “Director”) to discuss and, if the Directors
      consider it appropriate (having due regard to the Company’s financial position and their
      fiduciary duties), resolve to file the Company as part of the Chapter 11 Proceedings.

(c)   It was noted that on 19 June 2022, the Board created a special committee (the “Special
      Committee”) of Directors (the “Designated Directors”) and delegated to the Special
      Committee pursuant to the Charter (as defined below), among other things, (a) the
      power and authority to review and analyze one or more alternative debt or equity
      financings or a sale, merger, consolidation, restructuring, reorganisation,
      recapitalisation, liquidation or other transaction or related financing or refinancing
      involving the Company and/or one or more of its subsidiaries, whether by filing a
      voluntary petition for relief under the Bankruptcy Code or otherwise and (b) the power
      and authority to review and discuss with management, and subject to applicable law,
      take all action of the Board with respect to the development and implementation of the
      Company’s overall operational and financial restructuring plans and objectives,
      including to review and approve a Chapter 11 filing of the Company (collectively, the
      “Committee Matters”). Accordingly, the Designated Directors were in attendance at
      the meeting.

4.    DOCUMENTS PRODUCED TO THE MEETING

(a)   There was produced to the meeting the latest drafts of the following documents:

              (i)    a presentation prepared by Kirkland & Ellis, attached hereto as
              Exhibit A, which included a structure chart outlining the indicative corporate


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              structure of the Celsius group of companies (the “Group”) which indicates the
              proposed filing and non-filing entities for the purposes of the Chapter 11
              Proceedings; and

              (ii)   a note on English law directors’ duties considerations prepared by
              Kirkland & Ellis, attached hereto as Exhibit B.

(b)   The documents set out in paragraphs (a)(i) to (a)(ii) above, together with any other
      related documents (including but not limited to any deeds, instruments, agreements,
      accession agreements, shareholder resolutions, powers of attorney, notices, requests,
      acknowledgments, memoranda, statements or certificates, and presentations by the
      management team and the financial and legal advisers of the Company regarding the
      liabilities and liquidity situation of the Company and the strategic alternatives available
      to the Company) as may be ancillary, necessary, desirable, required or requested, are
      together referred to as the “Documents”.

5.    CONSIDERATION

(a)   The Board considered the Documents.

(b)   In particular, it was noted that the Board and the Designated Directors have reviewed
      and considered the presentations given by the management and the financial and legal
      advisers of the Company regarding the liquidity situation of the Company, the strategic
      alternatives available to the Company, and the effect of the foregoing on the Company’s
      business.

(c)   The Directors and the Designated Directors noted that they have consulted with the
      management and financial and legal advisers of the Company to fully consider and
      engage with each of the strategic alternatives available to the Company.

(d)   Following a comprehensive analysis of strategic restructuring alternatives presented by
      the Company’s professional advisors, the Directors and the Designated Directors
      determined that the Chapter 11 Proceedings represented the best path forward for the
      Company because, among other reasons, (a) the Company would benefit substantially
      from a centralized, organized process for communication with creditors as it determines
      those creditors’ and, possibly, equity holders’ entitlements and enables them to vote on
      the Company’s chapter 11 plan and make elections with respect to their distributions
      thereunder, (b) the Chapter 11 Proceedings are the most efficient process for enabling
      the Company to bind holdouts, resolve litigation claims, and streamline the distribution
      process, and (c) the Chapter 11 Proceedings are also advisable because restructuring
      obligations owed to the Company’s many non-accredited customers cannot feasibly be
      accomplished under U.S. securities law other than pursuant to a chapter 11 plan.

(e)   In addition, in advance of the Meeting, a note on English law directors’ duties
      considerations was prepared and provided by Kirkland & Ellis to the Directors and
      Designated Directors for their review and consideration.

(f)   Kon Asimacopoulos noted that, as a matter of English law, the Directors and the
      Designated Directors are under a duty in the ordinary course to act in the best interests
      of the Company. However, when the Company’s solvency position is less clear (i.e.
      when the Company is in the “zone of insolvency”), the Directors’ duties shift from


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      acting in the best interests of the Company’s shareholders to acting in the best interests
      of the Company’s creditors. In particular, it was noted that there are certain actions that
      the Board should take in circumstances where a company is facing financial difficulty
      which include (non-exhaustively): (i) to seek professional advice in respect of their
      obligations; (ii) to continue to meet regularly to review the finances and cash flow
      position of the Company; and (iii) to keep thorough records of their decision-making.

(g)   The Directors and the Designated Directors noted that they are at present taking these
      steps and that they would continue to closely monitor the financial position of the
      Company.

(h)   The Directors and the Designated Directors also noted that they acknowledged and
      understood the analysis provided by Kirkland & Ellis and would remain mindful of
      their fiduciary duties in all respects.

(i)   The Directors and the Designated Directors considered their general duties including,
      but not limited to, their obligations under Part 10, Chapter 2 and s. 172 of the 2006 Act
      and the Documents and formed the opinion that it was to the commercial benefit and
      advantage of the Company and its creditors as a whole (including a means of preserving
      value for the Company’s creditors as a whole) to resolve to file the Company as part of
      the Chapter 11 Proceedings.

(j)   It was further discussed among the Directors and the Designated Directors whether an
      administration filing or similar filing in England would be appropriate or preferable.
      Based on the information they know to date and at this stage, the Directors and
      Designated Directors concluded that, in the circumstances, a local insolvency or
      administration filing in England is not necessary on the basis that the Chapter 11
      Proceedings are likely to promote the success of the Company and result in a better
      outcome for the Company’s creditors as a whole. This is on the basis that, based on the
      information that the Directors and Designated Directors have at this time, the Directors
      and Designated Directors understand that the Chapter 11 Proceedings would enable the
      Company (together with its professional advisers) to take the time it needs to plan a
      route through to avoiding an insolvent liquidation (or equivalent process) and to enable
      the Company and the business to continue as a going concern, in the interests of the
      Company’s creditors as a whole.

6.    RESOLUTIONS

IT WAS RESOLVED:

(a)   that the Designated Directors having determined that the decisions contemplated
      hereunder may be Committee Matters and as such, the Designated Directors have
      determined to act with respect to the matters contemplated hereby on behalf of the
      Company;

(b)   that in the judgment of the Board and the Designated Directors (having regard, among
      other matters, to the matters referred to in section 172 of the 2006 Act), it is desirable
      and is most likely to promote the success of the Company for the benefit of its
      stakeholders, its creditors as a whole, and other parties in interest, that the Company
      shall be, and hereby is, authorised to file, or cause to be filed, a voluntary petition for
      relief (the “Chapter 11 Case”) under the provisions of chapter 11 of the Bankruptcy


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      Code in the United States Bankruptcy Court for the Southern District of New York
      (the “Bankruptcy Court”) and any other petition for relief or recognition or other order
      that may be desirable under applicable law in the United States;

(c)   that any of the Chief Executive Officer, Chief Financial Officer, any Executive Vice
      President, General Counsel, and Secretary or any other duly appointed officer of the
      Company (collectively, the “Authorised Signatories”), acting alone or with one or
      more other Authorised Signatories be, and they hereby are, authorised, empowered, and
      directed to execute and file on behalf of the Company all petitions, schedules, lists, and
      other motions, papers, or documents, and to take any and all other action that they deem
      necessary or proper to obtain such relief, including, without limitation, any action
      necessary to maintain the ordinary course operation of the Company’s business;

(d)   that each of the Authorised Signatories be, and hereby is, authorised and directed to
      retain the law firm of Kirkland & Ellis LLP and Kirkland & Ellis International LLP
      (together, “Kirkland & Ellis”) as general bankruptcy counsel to represent and assist
      the Company in connection with the Chapter 11 Case in carrying out its duties under
      the Bankruptcy Code, and to take any and all actions to advance the Company’s rights
      and obligations, including filing any motions, objections, replies, applications, or
      pleadings; and in connection therewith, each of the Authorised Signatories, with power
      of delegation, is hereby authorized and directed to execute appropriate retention
      agreements, pay appropriate retainers, and to cause to be filed an appropriate
      application for authority to retain the services of Kirkland & Ellis;

(e)   that each of the Authorised Signatories be, and hereby is, authorised and directed to
      retain the firm Alvarez & Marsal North America, LLC, (“A&M”), as financial advisors
      to represent and assist the Company in carrying out its duties under the Bankruptcy
      Code, and to take any and all actions to advance the Company’s rights and obligations;
      and in connection therewith, each of the Authorised Signatories, with power of
      delegation, is hereby authorized and directed to execute appropriate retention
      agreements, pay appropriate retainers, and to cause to be filed an appropriate
      application for authority to retain the services of A&M;

(f)   that each of the Authorised Signatories be, and hereby is, authorised and directed to
      retain the firm Centerview Partners LLC (“Centerview”), as investment bankers to
      represent and assist the Company in carrying out its duties under the Bankruptcy Code,
      and to take any and all actions to advance the Company’s rights and obligations; and in
      connection therewith, each of the Authorised Signatories, with power of delegation, is
      hereby authorised and directed to execute appropriate retention agreements, pay
      appropriate retainers, and to cause to be filed an appropriate application for authority
      to retain the services of Centerview;

(g)   that each of the Authorised Signatories be, and hereby is, authorised and directed to
      retain the firm Latham & Watkins, LLP (“Latham”), as regulatory counsel to represent
      and assist the Company in carrying out its duties under the Bankruptcy Code, and to
      take any and all actions to advance the Company’s rights and obligations; and in
      connection therewith, each of the Authorised Signatories, with power of delegation, is
      hereby authorised and directed to execute appropriate retention agreements, pay
      appropriate retainers, and to cause to be filed an appropriate application for authority
      to retain the services of Latham;



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(h)   that each of the Authorised Signatories be, and hereby is, authorised and directed to
      retain the firm of Stretto, Inc. (“Stretto”) as notice and claims agent to represent and
      assist the Company in carrying out its duties under the Bankruptcy Code, and to take
      any and all actions to advance the Company’s rights and obligations; and in connection
      therewith, each of the Authorised Signatories, with power of delegation, is hereby
      authorised and directed to execute appropriate retention agreements, pay appropriate
      retainers, and to cause to be filed appropriate applications for authority to retain the
      services of Stretto;

(i)   that each of the Authorised Signatories be, and hereby is, authorised and directed to
      retain any other professionals to assist each Company in carrying out its duties under
      the Bankruptcy Code and to take any and all actions to advance each Company’s rights
      and obligations; and in connection therewith, each of the Authorised Signatories, with
      power of delegation, is hereby authorised and directed to execute appropriate retention
      agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate
      application for authority to retain the services of any other professionals as necessary;

(j)   that each of the Authorised Signatories be, and hereby is, with power of delegation,
      authorised, empowered, and directed to execute and file all petitions, schedules,
      motions, lists, applications, pleadings, and other papers and, in connection therewith,
      to employ and retain all assistance by legal counsel, accountants, financial advisors,
      and other professionals and to take and perform any and all further acts and deeds that
      each such Authorised Signatory deems necessary, proper, or desirable in connection
      with the Chapter 11 Case, with a view to the successful prosecution of such case;

(k)   that if any Document or related document agreed by an Authorised Signatory needs to
      be executed as a deed, that it be executed under the common seal of the Company or
      executed as a deed in accordance with section 44 of the 2006 Act;

(l)   that in addition to the specific authorisations heretofore conferred upon the Authorised
      Signatories, each of the Authorised Signatories (and their designees and delegates) be,
      and they hereby are, authorised and empowered, in the name of and on behalf of the
      Company, to take or cause to be taken any and all such other and further action, and to
      execute, acknowledge, deliver, and file any and all such agreements, certificates,
      instruments, and other documents and to pay all expenses, including but not limited to
      filing fees, in each case as in such Authorised Signatory’s judgment, shall be necessary,
      advisable, or desirable in order to fully carry out the intent and accomplish the purposes
      of the Resolutions adopted herein;

(m)   that all acts, actions, and transactions relating to the matters contemplated by the
      foregoing Resolutions done in the name of and on behalf of the Company, which acts
      would have been approved by the foregoing Resolutions except that such acts were
      taken before the adoption of these Resolutions, are hereby in all respects approved and
      ratified as the true acts and deeds of the Company with the same force and effect as if
      each such act, transaction, agreement, or certificate has been specifically authorised in
      advance by resolution of the Board and the Designated Directors; and

(n)   that each of the Authorised Signatories (and their designees and delegates) be, and
      hereby is, authorised and empowered to take all actions or to not take any action in the
      name of the Company with respect to the transactions contemplated by these
      Resolutions hereunder, as such Authorised Signatory shall deem necessary or desirable


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      in such Authorised Signatory’s reasonable business judgment as may be necessary or
      convenient to effectuate the purposes of the transactions contemplated herein.

7.    FILINGS

      It was resolved that any Director and/or the Company’s solicitors be authorised to
      complete all necessary and appropriate entries in the books and registers of the
      Company and to arrange for the relevant resolutions and forms to be filed with the
      Registrar of Companies.

8.    CLOSING OF MEETING

      There being no further business the Chairman declared the Meeting was closed.




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Alex Mashinsky
Chairman




                    [Signature page to Board Minutes (Celsius Network Limited)]
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                                     Exhibit A

                      Kirkland & Ellis Presentation to the Board
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                                     Exhibit B

                Note on Directors’ Duties as a Matter of English Law
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                                                             EXHIBIT A

                                                             Companies

                                       Company                           Jurisdiction
                               Celsius US Holding LLC                     Delaware
                                 Celsius Mining LLC                       Delaware
                                 Celsius Network LLC                      Delaware
                                 Celsius Lending LLC                      Delaware
                                  Celsius KeyFi LLC                       Delaware
                                 Celsius Network Inc.                     Delaware
                            Celsius Networks Lending LLC                  Delaware
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    Fill in this information to identify the case and this filing:

   Debtor Name          Celsius Network Limited

   United States Bankruptcy Court for the:                Southern District of New York
                                                                                                  (State)
   Case number (If known): 22-10966 (MG)


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the [30] Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership Statement
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       07/14/2022                                   /s/ Alex Mashinsky
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Alex Mashinsky
                                                                                 Printed name
                                                                                 Chief Executive Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
